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 In the United States Court of Federal Claims
                                            No. 11-224L
                                      (Filed January 20, 2012)

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                             *
DONALD L. PELLEGRINI et al., *                         Fifth Amendment Takings Clause; Army
                             *                         Corps of Engineers; dredging; collapse of
              Plaintiffs,    *                         uplands, seawalls and structures; subject-
                             *                         matter jurisdiction; 28 U.S.C. § 1500;
          v.                 *                         claims pending in another court until
                             *                         dismissed; same operative facts; no
THE UNITED STATES,           *                         jurisdiction to enjoin dredging or to
                             *                         prevent future takings.
              Defendant,     *
                             *
*************************

       G. J. Rod Sullivan, Jr., of Jacksonville, Florida, for plaintiffs.

     Stephen Finn, Environment & Natural Resources Division, Department of Justice, with
whom was Ignacia S. Moreno, Assistant Attorney General, of Washington, D.C., for defendants.

                          MEMORANDUM OPINION AND ORDER

WOLSKI, Judge.

        This case is before the Court on defendant’s Motion to Dismiss, in Part, for Lack of
Jurisdiction, pursuant to Rules 12(b)(1) and 12(h)(3) of the Rules of the United States Court of
Federal Claims (“RCFC”) and 28 U.S.C. § 1500 (“Section 1500”). Defendant’s motion seeks
dismissal of the claims of three of the plaintiffs and dismissal of a cause of action requesting
equitable relief. Def.’s Mot. to Dismiss (“Def.’s Mot.”) at 11. Defendant’s motion has been
fully briefed and oral argument on the motion was held. For the reasons that follow, defendant’s
motion is GRANTED.

                                         I. BACKGROUND

        Plaintiffs filed suit in the United States Court of Federal Claims on April 11, 2011. They
allege that they are owed just compensation under the Takings Clause of the Fifth Amendment of
the Constitution of the United States and that the Court has jurisdiction over their claims under
the Tucker Act, 28 U.S.C. § 1491(a)(1). Compl. ¶¶ 4-5. The named plaintiffs in this case are
three owners --- Donald and Brenda Pellegrini and Anne Ebel --- and two lessors --- Mladen and
Beverly Ziza --- of riverfront property situated on Ramoth Drive along the St. Johns River in
Jacksonville, Florida. Compl. ¶¶ 1-3. The action is putatively brought on behalf of the class of
similarly situated riverfront property owners and lessors along Ramoth Drive, which is estimated
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to be 150 people living in forty-five homes along the drive. Id. ¶¶ 4, 6. Each riverfront lot along
Ramoth Drive allegedly has an easement appurtenant burdening the government’s navigational
servitude such that plaintiffs are permitted to build, maintain, and use docks, seawalls, and
boathouses that extend into the river. Id. ¶¶ 1-4.

         The takings claims asserted in this case result from dredging of the St. Johns River
conducted by the Army Corps of Engineers (“the Corps”). Compl. ¶ 7. The dredging activity
was allegedly part of the “St. Johns River Maintenance Dredge Project” and occurred in “[c]uts
40-41, in the vicinity of buoy 34, immediately adjacent to the property owned by plaintiffs.” Id.
Plaintiffs allege that as sediment in the center of the river was removed by the Corps, “lateral and
subjacent” support of the riverbank was lost, causing a sudden subsidence of the riverbank,
which in turn caused the “collapse of plaintiffs’ seawalls, and adjacent structures.” 1 Id. The
facts alleged in the complaint do not include specific dates when the seawalls and adjacent
structures collapsed, nor specific or even approximate dates of the dredging. See id. ¶¶ 7-8. An
estimated date range is possible, however, with respect to the accrual of the Zizas’ claim. The
document signed by Barbara Crause --- owner of the Zizas’ leased property --- attached to the
complaint states that damage to her seawall and dock occurred in April and May of 2010.
Attach. to Compl. at 1.

        The property interests allegedly taken consist of: 1) the formerly “privately-owned
uplands lying outside [d]efendant’s navigational servitude” that, after collapsing into the river,
were converted to public lands lying “particularly or completely below mean high water;” 2) the
pre-existing seawalls and adjacent structures (docks and boathouse); and 3) the right to use the
public lands extending out into the river for docks and boathouses. Compl. ¶¶ 4, 7, 8. Plaintiffs
seek a declaratory judgment that defendant’s dredging resulted in a taking of their private
property “without due process of law” and seek monetary damages as just compensation owed to
them under the Fifth Amendment. Id. at 4-5. 2 Concerned about losing additional property,
plaintiffs also seek a permanent injunction that would prevent the Corps from conducting any
further dredging in the vicinity of Ramoth Drive and a permanent injunction that requires the



1
  The “adjacent structures” presumably include the docks owned by Ms. Ebel and the Pellegrinis,
Def.’s Mot. Ex. 1 at 8-11, and the dock leased by the Zizas, Attach. to Compl. at 1, and might
also include the Pellegrinis’ boathouse --- which was mentioned in a later filing, Pls.’ Resp. to
Mot. to Dismiss at 2, but not listed in the Pellegrinis’ administrative claim form filed with the
Corps, see Def.’s Mot. Ex. 1 at 8.
2
  Plaintiffs have included a second cause of action, seeking the indentical declaration and
damages as under what appears to be their first cause of action (which went unlabelled), based
on the Fifth Amendment’s Due Process Clause, rather than its Takings Clause. See Compl. at 4-
6. The Supreme Court has long held that a taking of private property for public use by a state
without payment of just compensation violates the Due Process Clause of the Fourteenth
Amendment, see Chicago, B. & Q. R. Co. v. Chicago, 166 U.S. 226, 241 (1897), and perhaps
that is why plaintiffs included this redundant second cause of action.
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government to build a bulkhead --- in accordance with designs previously commissioned by
plaintiffs --- along the riverbank on Ramoth Drive to prevent additional collapse. Id. at 6-7.

         On July 22, 2010 --- prior to filing their takings claims in the Court of Federal Claims ---
Ms. Ebel and the Pellegrinis filed an action under the Federal Tort Claims Act (“FTCA”), 28
U.S.C. §§ 1346(b), 2671-2680, in the United States District Court for the Middle District of
Florida styled Ebel v. United States, No. 3:10-cv-635-RBD-JRK (M.D. Fla. 2010). Def.’s Mot.
at 2-3. In the Ebel complaint, plaintiffs allege that the Corps’s dredging of the St. Johns River at
“[c]uts 40-41, in the vicinity of buoy 34, immediately adjacent to the property owned by
plaintiffs” negligently caused damage to plaintiffs’ docks, seawalls, and backyards. Def.’s Mot.
Ex. 1 at 2 (Ebel Compl. ¶ 4). Similar to the complaint filed in the present case, the four corners
of the Ebel complaint do not include specific dates when the seawalls and adjacent structures
collapsed, nor specific or even approximate dates of the dredging. See id. at 1-3 (Ebel Compl.).
The Ebel complaint, however, references attached administrative claim forms filed with the
Corps by Ms. Ebel and the Pellegrinis that cover damage to their docks and boatlifts that
occurred on March 8, 2008. Id. at 8-11 (Ebel Compl. Ex. C). The Ebel complaint also
references an attached declaration of George Smith --- Ms. Ebel’s marine contractor --- who
states that Ms. Ebel’s seawall collapsed due to substantial, unnatural subsidence caused by
dredging in May 2010. Id. at 6-7 (Ebel Compl. Ex. B). Thus, the Ebel complaint encompasses
dredging before March 8, 2008 that allegedly caused damage to Ms. Ebel’s and the Pellegrinis’
property on March 8, 2008 and also encompasses dredging in May 2010 that allegedly caused
damage to Ms. Ebel’s property sometime between May 2010 and July 20, 2010.

        On July 23, 2010, the district court issued an order in Ebel questioning whether it could
exercise jurisdiction over all of the claims raised by the complaint. Pls.’ Supp’l Mem. Ex. 7 at 2-
3. The Ebel court observed that it would not have jurisdiction over claims filed under the FTCA
unless the claimants first filed administrative claims with the appropriate agency. Id. The Ebel
court read the complaint as appearing to encompass dredging and damages occurring in 2008 as
well as “additional dredging activities and new damages occurring between April and July
2010.” Id. at 3. Yet the administrative claim notices attached to the Ebel complaint only pertain
to damages occurring in 2008 and no notices of claim were evidenced for the alleged 2010
damages. Id. By way of pursuing this inquiry, the Ebel court requested that plaintiffs brief
“whether the 2008 notices are sufficient to effect a waiver of the government’s sovereign
immunity for the claims arising in 2010.” Id. On September 14, 2011, after oral argument on
the motion presently before the Court, plaintiffs moved the district court to dismiss Ebel without
prejudice. Pls.’ Supp’l Mem. Ex. 1 at 1-4. The district court granted the motion on October 12,
2011, dismissed Ebel without prejudice, and closed the case. Docket No. 16-1 at 2 (Ebel Docket
No. 55).

                                          II. DISCUSSION

       Whether a federal court has jurisdiction to decide the merits of a case is a threshold
matter. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998) (citation omitted).
“Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction is power to

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declare the law, and when it ceases to exist, the only function remaining to the court is that of
announcing the fact and dismissing the cause.” Ex parte McCardle, 74 U.S. (7 Wall.) 506, 514
(1869). The parties or the court sua sponte may challenge the existence of subject-matter
jurisdiction at any time. Capron v. Van Noorden, 6 U.S. (2 Cranch) 126, 127 (1804); Folden v.
United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004); James v. United States, 86 Fed. Cl. 391,
394 (2009).

        When considering whether to dismiss a complaint for lack of jurisdiction, the Court
assumes that the uncontroverted allegations in the complaint are true and construes those
allegations in plaintiffs’ favor. Henke v. United States, 60 F.3d 795, 797 (Fed. Cir. 1995). 3
Plaintiffs bear the burden of proving by a preponderance of the evidence that the Court possesses
subject-matter jurisdiction. McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936);
Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). If the Court
determines that it lacks subject-matter jurisdiction over a claim, the claim must be dismissed.
RCFC 12(h)(3).

A. Section 1500 Precludes the Court from Exercising Jurisdiction over Ms. Ebel’s and the
   Pellegrinis’ Claims

        Section 1500 “shuts the door to this Court’s jurisdiction when a sufficiently similar suit
against the United States government is pending in another court at the time litigants bring their
case to our doorstep.” Young v. United States, 60 Fed. Cl. 418, 419 (2004). Section 1500
provides in relevant part:

       The United States Court of Federal Claims shall not have jurisdiction of any claim
       for or in respect to which the plaintiff or his assignee has pending in any other
       court any suit or process against the United States.

28 U.S.C. § 1500 (2006). “[T]he term ‘claim’ in [Section] 1500 [is] defined by the operative
facts alleged, not the legal theories raised.” Johns-Manville Corp. v. United States, 855 F.2d
1556, 1563 (Fed. Cir. 1988). Claims based on substantially the same operative facts are
considered the same claim for purposes of Section 1500, “regardless of the relief sought in each
suit.” United States v. Tohono O’Odham Nation, 131 S. Ct. 1723, 1731 (2011) (“Tohono”).

        “Pending” for purposes of Section 1500 is given its plain, unambiguous meaning. Johns-
Manville, 855 F.2d at 1567. The well-understood meaning of “pending,” when used as an
adjective in the legal context, is “remaining undecided” or “awaiting decision,” Black’s Law
Dictionary 1248 (9th ed. 2009), and this has been so for many years, see, e.g., William A.
Wheeler, A Dictionary of the English Language 528 (1868) (defining pending as “[r]emaining
undecided; in suspense”); 11 Oxford English Dictionary 468 (2d ed. 1989) (citing a 1797 usage

3
  If a party submits evidence challenging the jurisdictional facts alleged in a complaint,
however, those allegations are no longer assumed to be true. See James v. United States, 86 Fed.
Cl. 391, 394-95 (2009).
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of the term in a reference to legal proceedings). Any claim that has been filed but not dismissed
or finally adjudicated is therefore “pending.” For purposes of Section 1500, the question of
whether another claim is pending “is determined at the time at which the suit in the Court of
Federal Claims is filed.” Loveladies Harbor, Inc. v. United States, 27 F.3d 1545, 1548 (Fed. Cir.
1994) (en banc), overruled on other grounds by Tohono, 131 S. Ct. 1723.4 It is a “longstanding
principle that ‘the jurisdiction of the Court depends upon the state of things at the time the action
was brought.’” Keene Corp. v. United States, 508 U.S. 200, 207 (1993) (quoting Mollan v.
Torrance, 22 U.S. (9 Wheat.) 537, 539 (1824) (Marshall, C.J.)).

        On June 10, 2011, defendant moved to dismiss several of plaintiffs’ claims pending in
our court, arguing that Section 1500 bars the Court from taking jurisdiction over the takings
claims of Ms. Ebel and the Pellegrinis because the negligence claims in Ebel were pending when
the takings claims were filed here and the claims in both cases are based on the same operative
facts. Def.’s Mot. at 7-8. Plaintiffs deny that a single set of operative facts gave rise to all the
claims. Instead, plaintiffs argue that their takings claims before this court are based on at least
two separate incidents of dredging and that the negligence claims in Ebel were based on just one
of these. See Pls.’ Resp. to Def.’s Mot. to Dismiss (“Pls.’ Resp.”) at 2-3, 6. Plaintiffs assert that
one incident of dredging occurred prior to March 8, 2008, which caused the collapse of the
Pellegrinis’ dock and boathouse; that another incident of dredging occurred between March 8,
2008 and June 15, 2010, which caused additional damage to the Pellegrinis’ seawall and the
collapse of Ms. Ebel’s seawall on June 15, 2010; and that the second dredging resulted in
damage to the Zizas’ property that was incurred at another, unspecified time. Id. at 2. Plaintiffs
argue that the district court exercised jurisdiction only over claims pertaining to the 2008
dredging, so claims resulting from later dredging were never pending before the district court for
purposes of Section 1500. Id. at 2-3, 6.



4
   The government gratuitously offers its “view” that the order-of-filing rule of Tecon Engineers,
Inc. v. United States, 170 Ct. Cl. 389, 399 (1965), which it concedes is not at issue in this case,
“does not reflect good law.” Def.’s Mot. at 5 n.3. It bases this irrelevant opinion on two earlier
decisions of the Court of Claims, Hobbs v. United States, 168 Ct. Cl. 646, 647-48 (1964) and
Maguire Industries, Inc. v. United States, 114 Ct. Cl. 687, 688, 690 (1949), which were among
those the Tecon court determined could provide no direction on the issue because “there [was] no
indication that the issue of priority was ever fully briefed, considered, or decided.” Tecon, 170
Ct. Cl. at 401; see also id. at 400 & n.3 (distinguishing Maguire as a case involving litigation
already pending when a suit was brought in our predecessor court). The government also
provided a confer reference to a portion of the Tohono opinion, which the Supreme Court
admitted was dicta and which briefly mentioned Tecon. Def.’s Mot. at 5 n.3 (citing Tohono, 131
S. Ct. at 1729-30). But while dicta from a higher court may on occasion prove persuasive (when
it illuminates a rule to be applied, for instance), this discussion in Tohono is not of that ilk. The
Supreme Court was merely explaining that a statute’s purpose is not nullified when precedents
construe it to cover less than all circumstances in which that purpose could be furthered; the high
court was not opining on the correctness of the Tecon constuction of Section 1500, and did not
even mention the textual basis for that decision.
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        The Court is persuaded by defendant’s argument that the complaint in Ebel and the
complaint in this case share the same claims with respect to the Pellegrinis and Ms. Ebel.
Defendant correctly points out that plaintiffs use nearly identical language in both complaints to
describe the operative facts giving rise to both the negligence and takings theories. Def.’s Reply
in Supp. of Mot. to Dismiss (“Def.’s Reply”) at 5. The property of Ms. Ebel and the Pellegrinis
is identified as the same in both complaints, compare Compl. ¶¶ 1-2, with Def.’s Mot. Ex. 1 at 1
(Ebel Compl. ¶¶ 2-3), both complaints refer to the dredging as the “St. Johns River Maintenance
Dredge Project,” compare Compl. ¶ 7, with Def.’s Mot. Ex. 1 at 2 (Ebel Compl. ¶ 4), both
complaints describe the location of the dredging as “[c]uts 40-41, in the vicinity of buoy 34,
immediately adjacent to the property owned by the [p]laintiffs,” compare Compl. ¶ 7, with Def.’s
Mot. Ex. 1 at 2 (Ebel Compl. ¶ 4), and both complaints allege that the dredging resulted in the
loss of “lateral and subjacent support” of the riverbank, causing its collapse and damage to
plaintiffs’ seawalls and adjacent structures, compare Compl. ¶¶ 7-9, with Def.’s Mot. Ex. 1 at 2
(Ebel Compl. ¶¶ 5, 12). There is no information in the complaints to suggest they are each based
on a distinct set of operative facts. With respect to Ms. Ebel and the Pellegrinis, the complaints
describe identical facts.

         Although plaintiffs argue that there were two separate incidents of dredging, and thus at
least two separate sets of operative facts, see Pls.’ Resp. at 2-3, 6, the complaint before the Court
does not allege on its face any dates that would allow the Court to differentiate between separate
incidents. 5 Indeed, the complaint before the Court is even less specific with respect to the
damage to Ms. Ebel’s and the Pellegrinis’ property than the complaint in Ebel, because attached
to that complaint were the administrative claim forms and the declaration of Mr. Smith, which
allow relevant dates to be approximated. See Def.’s Mot. Ex. 1 at 6-11 (Ebel Compl. Exs. B &
C). The complaint here does not have any such attachments pertaining to the claims of Ms. Ebel
or the Pellegrinis, so with respect to their claims, only the plain language of the complaint is
available. Given that the plain language is bereft of any temporal information regarding Ms.
Ebel’s and the Pellegrinis’ claims, even to determine whether plaintiffs’ suit was filed within the
statute of limitations requires the generous step of importing into this case the dates found in the
attachments to the Ebel complaint. Doing so may allow the Court to identify two discrete
incidents of dredging --- albeit within the same broader project --- but it also works to undermine
plaintiffs’ contention that the two suits are based on different operative facts, because any
distinction between the two incidents would be due to the facts pleaded in Ebel. The complaint
filed in our court contains no specific allegation of any injury suffered by the Pellegrinis’ or Ms.
Ebel that was not contained in the Ebel complaint.

        Plaintiffs’ argument that the two suits are based on different operative facts is premised
not only on the identification of two separate incidents of dredging, but also on the assertion that
the district court only exercised jurisdiction over one of these incidents. Plaintiffs contend that if
the district court did not take jurisdiction over claims arising from one of the two dredging
incidents, then the claims were never pending before the district court and Section 1500 presents

5
  Obviously, the third set of facts, relating to the damage incurred by the Zizas, was not before
the district court, as the Zizas were not parties to that lawsuit.
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no barrier to the Court’s jurisdiction over them. Pls.’ Resp. at 2-3, 6. The Court finds this
argument unavailing. Plaintiffs are incorrect to characterize the district court’s sua sponte
questioning of whether it could take jurisdiction over claims arising out of alleged 2010 dredging
as proof that those claims were not pending before the district court. Once filed, claims are
pending until dismissed or a final adjudication is reached. Even if a claim is ultimately
dismissed for lack of subject-matter jurisdiction, it was pending from the time it was filed until
dismissal. See Young, 60 Fed. Cl. at 424. Here, however, the district court did not dismiss the
claims in Ebel until October 12, 2011. Docket No. 16-1 at 2 (Ebel Docket No. 55). The Ebel
court’s request for further briefing from plaintiffs on whether it could take jurisdiction over all of
the claims, Pls.’ Supp’l Mem. Ex. 7 at 2-3, should not be confused with a conclusive
determination that it lacks jurisdiction. Thus, all claims alleged in Ebel were pending until they
were dismissed on October 12, 2011.

         Plaintiffs also assert, without any explanation or analysis, that the dismissal of the district
court case makes the motion to dismiss filed in this case “moot.” Pls.’ Supp’l Mem. at 1. But
since our court’s jurisdiction must be evaluated based on the state of things at the time the
complaint was filed in our court, see Keene Corp., 508 U.S. at 207-08; Loveladies Harbor, 27
F.3d at 1548, the fact that the Pellegrinis and Ms. Ebel no longer “ha[ve] pending” these claims
in another court is irrelevant. Since there does not appear to be any looming statute of
limitations problem --- as alleged takings due to 2008 actions are safely within the six-year limit,
see 28 U.S.C. § 2501 --- Section 1500 as applied to this case is a mere annoying technicality,
which from the perspective of the bench is perhaps worse than being moot. Plaintiffs control
their procedural fate, and as long as they refrain from filing these claims elsewhere in the
interim, the Court is not aware of any obstacle preventing Ms. Ebel and the Pellegrinis from
filing a new complaint here --- which would be directly related to this case under RCFC 40.2(a),
and a likely candidate for consolidation under RCFC 42(a). 6

       Because Ms. Ebel’s and the Pellegrinis’ takings claims before the Court are based on the
same operative facts as the negligence claims they raised in Ebel, and the Ebel claims were
pending in the district court from July 22, 2010 until October 12, 2011, Section 1500 bars the
Court from taking jurisdiction over these claims. Accordingly, the claims of the Pellegrinis and
Ms. Ebel are dismissed without prejudice, leaving the Zizas as the only named parties in this
lawsuit.




6
  To avoid any unnecessary and vexing procedural complications, the Court would be open to
holding a status conference, if requested, to discuss the most efficient way for the Pellegrinis and
Ms. Ebel to re-file their claims.

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B. The Court Lacks the Power to Grant Equitable Relief Requested

         Our court exists primarily as a forum for determining whether monetary relief shall be
awarded for non-tort claims brought against the United States. 7 See 28 U.S.C. §§ 1491-1509.
Relief other than money damages is limited to a few discrete areas. This court has jurisdiction
over claims for something other than money in certain disputes under the Contract Disputes Act
of 1978 (“CDA”), see 28 U.S.C. § 1491(a)(2) (Supp. IV 2010) (cross-referencing 41 U.S.C.
§ 7104(b)(1)); in bid protests, see 28 U.S.C. § 1491(b); and in actions for declaratory judgments
concerning the tax status and classification of certain organizations, id. § 1507; see also 26
U.S.C. § 7428. Concerning claims that are otherwise within our court’s jurisdiction, Congress
amended the Tucker Act in 1972 to arm us (or, more accurately, our predecessor) with equitable
powers in two circumstances. 8 The first covers matters once a plaintiff has been found entitled
to relief, as “[t]o provide an entire remedy and to complete the relief afforded by the judgment,
the court may, as an incident of and collateral to any such judgment, issue orders directing
restoration to office or position, placement in appropriate duty or retirement status, and
correction of applicable records, and such orders may be issued to any appropriate official of the
United States.” 28 U.S.C. § 1491(a)(2) (2006). The second involves a power that may be
exercised prior to judgment, and is designed for cases involving the review of agency decisions:
“In any case within its jurisdiction, the court shall have the power to remand appropriate matters
to any administrative or executive body or official with such direction as it may deem proper and
just.” Id.

        Defendant has moved to dismiss the third cause of action, which is a claim for injunctive
relief. Plaintiffs request permanent injunctions to prevent the Corps from further dredging near
Ramoth Drive and to require the Corps to build a bulkhead or some alternative erosion-
controlling structure along the riverbank. Compl. at 6-7. They allege that this relief “is
incidental and subordinate to” their “primary claim for monetary damages,” and “is necessary to
mitigate further damages.” Id. at 6. The government argues that such relief is beyond the
limited equitable powers of the Court and is not “tied and subordinate” to monetary relief. Def.’s
Mot. at 9-10 (citing, inter alia, James v. Caldera, 159 F.3d 573, 580-81 (Fed. Cir. 1998) and
Austin v. United States, 206 Ct. Cl. 719, 723 (1975)). Defendant explains that the relief is
prospective and is not related to the claim for money damages for property already taken. Id.




7
  This has been the case since Congress’s initial attempt, via the Tucker Act, to extend our
predecessor court’s jurisdiction to cover equitable claims was rebuffed in a curious decision of
the Supreme Court. See United States v. Jones, 131 U.S. 1, 16-19 (1889); id. at 20 (Miller, J.,
dissenting).
8
  As the government acknowledges, see Def.’s Reply at 11, our court may also use equitable
principles, doctrines and theories when determining whether (and how much) money damages
should be awarded in cases within our jurisdiction. See Pauley Petroleum Inc. v. United States,
219 Ct. Cl. 24, 38-40 (1979).
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        Plaintiffs argue to the contrary that the equitable relief they seek is “tied and subordinate”
to a monetary award. Pls.’ Resp. at 4-5. They maintain that this relief comes under the first
circumstance described above under 28 U.S.C. § 1491(a)(2), as “necessary” for them to receive
“an entire remedy” and to complete their money judgment relief. Pls.’ Resp. at 4. As plaintiffs
explain it, a properly constructed seawall could prevent a further taking of their property due to
dredging-induced erosion, but would require dredging to stop while it is being built. Id. Were
the government given the choice between paying for plaintiffs’ seawall or building its own,
plaintiffs maintain, the government could then choose the most cost-effective option. Id. at 5.
Thus, according to plaintiffs, an injunction against dredging while a seawall is constructed will
limit damages connected with the dredging to the costs of the seawall, and an injunction making
the government build its own seawall could also minimize these damages.

        It seems to the Court that the parties’ focus on whether the requested injunctive relief
would be “tied and subordinate” to a money judgment misses the point of the statute being
interpreted. In cases that are neither bid protests nor under the CDA, our court is not authorized
to order whatever sort of injunctive relief it finds appropriate. Putting aside remands for the time
being, under the general jurisdiction of the Tucker Act the only injunctive orders that are
authorized are “orders directing restoration to office or position, placement in appropriate duty or
retirement status, and correction of applicable records.” 28 U.S.C. § 1491(a)(2) (2006). 9 The
cases cited by the parties all employ the “tied and subordinate” test in the context of a requested
order that falls within the enumerated categories. See James v. Caldera, 159 F.3d 573, 576-77
(Fed. Cir. 1998) (order correcting Army personnel record); Bobula v. U.S. Dep’t of Justice, 970
F.2d 854, 857-58 (Fed. Cir. 1992) (order nullifying a transfer and restoring employee to previous
position); Ellis v. United States, 222 Ct. Cl. 65, 69-70 (1979) (order placing civilian employee of
Navy in appropriate retirement status); Austin v. United States, 206 Ct. Cl. 719, 721 (1975)
(order correcting Navy personnel record). If a plaintiff seeks an order that is not among those
enumerated, even if it were “an incident of and collateral to” a money judgment, 28 U.S.C.
§ 1491(a)(2), it is not within our power to issue (under that particular provision). The requested
orders identified in the complaint --- enjoining further maintenance dredging in the vicinity of
plaintiffs’ property and requiring the government to build a structure to minimize erosion ---
obviously do not fall within the list of authorized orders. See id.

        Thus, plaintiffs’ only hope of obtaining the requested injunctive relief would be through
our court’s remand power. Plaintiffs do not attempt to justify the third cause of action on that
particular ground, focusing instead on the power to “provide an entire remedy and complete the
relief” of a money judgment, Pls.’ Resp. at 4 (quoting 28 U.S.C. § 1491(a)(2)), which was
rejected in the preceding paragraph. This is not surprising, though, as the verb “remand” has
long been understood as meaning to return or send back a case to another government body. See
Ballentine’s Law Dictionary 1088 (3d ed. 1969) (“The return of a case to an administrative
agency after a review by the court of a determination or decision of such agency.”); Black’s Law
Dictionary 1457 (4th ed. 1968) (“To send back.”); Webster’s Third New International Dictionary

9
 It did not go unnoticed that plaintiffs substituted an ellipsis for this list of authorized orders
when they quoted the relevant provision. See Pls.’ Resp. at 4 n.1.
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1919 (1971) (defined as “to return (a case) . . . from a court to an administrative agency”); The
American Heritage Dictionary of the English Language 1100 (1969) (“To send or order back.”).
Plaintiffs’ takings claim does not involve the review of a determination by the Corps, but rather
seeks just compensation for the physical taking of private property. Unlike the FTCA claims
regarding the 2008 damage asserted in the district court, that were initially presented to the
agency, see Def.’s Mot. Ex. 1 at 8-12 (Ebel Compl. Exs. C & D), takings claims were never
before the agency and thus cannot be remanded --- one cannot send something back to a place it
never was.

        Moreover, there is the problem of the substance of the injunctions requested by plaintiffs.
An injunction against dredging is sought because “[s]uch dredging, if permitted to continue, will
cause loss of lateral and subjacent support and will further deprive [p]laintiffs of their property.”
Compl. at 6. An injunction requiring the government to install a seawall is rationalized as “[t]he
most cost-effective method to prevent a taking of the [p]laintiff[s’] property,” with the
construction costs a “substitute for monetary damages” that would have been recoverable were
there to be “further takings.” Pls.’ Resp. at 5. In essence, plaintiffs ask the Court to order the
government to not create future claims within our jurisdiction. It is hard to see how our court
would have jurisdiction to order the government to stay out of our jurisdiction. While the natural
result of a determination, under 28 U.S.C. § 1491(a)(2), of rights under a contract that is still
being performed would control future behavior under that contract, or an application of tax law
to one tax year of a taxpayer could through collateral estoppel dictate that law’s application to
other tax years, see Ammex, Inc. v. United States, 384 F.3d 1368, 1371 (Fed. Cir. 2004) (citing
Comm’r v. Sunnen, 333 U.S. 591, 598-99 (1948)), plaintiffs seek something akin to an order that
the government never breach another contract with a party, or never (illegally) overtax that party.
This is particularly inappropriate in the current context, as the Takings Clause of the Fifth
Amendment entitles a property owner to just compensation for property taken for public use, but
“[e]quitable relief is not available to enjoin an alleged taking of private property for public use,
duly authorized by law, when a suit for compensation can be brought against the sovereign
subsequent to the taking.” Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1016 (1984) (citation
omitted). Thus, even a court with broad equitable powers could not issue the orders plaintiffs
request. 10

        Plaintiffs’ third cause of action does not come within our court’s subject-matter
jurisdiction. It is accordingly dismissed without prejudice.

                                         III. CONCLUSION

       For the reasons stated above, the government’s motion to dismiss parts of this case is
GRANTED. The claims asserted by Ms. Ebel and the Pellegrinis are dismissed without
prejudice, and they are no longer parties to this lawsuit. The third cause of action is dismissed

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   Though not well-explained, this seems to be the basis for the government’s argument,
presumably in the alternative, that the third cause of action fails to state a claim upon which
relief can be granted. See Def.’s Mot. at 1, 9 (citing RCFC 12(b)(1)).
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without prejudice. The case shall be re-captioned as Mladen Ziza et al. v. United States, and
defendant shall file its response to the complaint on or by February 6, 2012.


IT IS SO ORDERED.


                                             s/ Victor J. Wolski
                                             VICTOR J. WOLSKI
                                             Judge




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